
AFTER REMANDMENT
TAYLOR, Judge.
In compliance with the judgment of the Supreme Court of Alabama in Ex parte Minor, 502 So.2d 776 (Ala.1986), this case is remanded to the juvenile court for that court to conduct an evidentiary hearing as required by § 12-15-34(d), Code of Alabama 1975, before issuing its transfer order.
REMANDED WITH DIRECTIONS.
All the Judges concur.
ON RETURN TO REMAND
TAYLOR, Judge.
In April 1983, a petition alleging delinquency was filed against appellant James Winston Minor, who was at that time 15 years old. The petition charged him with murder and was later amended to charge capital murder. In June 1983, the district attorney moved to transfer. Minor appealed his transfer to this court. We remanded the case with instructions. While the case was on appeal, the juvenile court entered an amended transfer order. We had no choice but to rule that the juvenile court did not have jurisdiction of the case while jurisdiction lay in the appellate court system. Thereafter, the Supreme Court of Alabama held that it would be necessary for the juvenile court to hold another evi-dentiary hearing before it could correct its previously entered insufficient order, reversing our ruling that the order could be *779corrected without another hearing. We, accordingly, remanded on the authority of the Supreme Court decision.
The evidentiary hearing has been held and the case is again before us for the purpose of reviewing the correctness of the juvenile court proceedings, which resulted in Minor’s being transferred to be tried as an adult. We have reviewed the record and determine that the findings and order of the Tuscaloosa County Circuit Court— Juvenile Division comport with the requirements referred to heretofore. The law provides that the decision of the transferring juvenile court is due to be affirmed if not clearly erroneous. We find no error and accordingly, the transfer order, directing that James Winston Minor be tried as an adult, is hereby affirmed.
AFFIRMED.
All the Judges concur.
